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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


 FIRST NATIONAL BANK OF SIOUX                      CV 18-111-BLG-TJC
 FALLS, as Personal Representative for
 the Estate of TRAVIS ALBERT
 CARLSON,                                          ORDER

                    Plaintiff,

 vs.

 THE ESTATE OF ERIC RYAN
 CARLSON,

                    Defendant.


       The Court having been notified of the settlement of this case (Doc. 72), and

it appearing that no issue remains for the Court’s determination,

       IT IS HEREBY ORDERED that within 30 days of the date of this Order, the

parties shall file a stipulation to dismiss together with a proposed order dismissing

the case.

       IT IS FURTHER ORDERED that all deadlines are VACATED.

       DATED this 20th day of October 2020.

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                                       TIMOTHY J. CAVAN
                                       United States Magistrate Judge
